                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
         Plaintiff,                          )
                                             )
 v.                                          )   No. 3:16-cr-00179
                                             )
 TREMAYNE HORTON,                            )
                                             )
         Defendant.                          )

                                        ORDER

        For the reasons stated in the accompanying Memorandum Opinion, Tremayne Horton’s

Motion for Compassionate Release (Doc. Nos. 50, 54, and 70) is DENIED.

        IT IS SO ORDERED.


                                         ____________________________________
                                         WAVERLY D. CRENSHAW, JR.
                                         CHIEF UNITED STATES DISTRICT JUDGE




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